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    8                            UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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                                      WESTERN DIVISION
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      SUMMIT ENTERTAINMENT, LLC, a                 Case No. 2:13-cv-04310-CAS-AJW
   13 Delaware corporation,
                                                   ORDER GRANTING PLAINTIFF
   14               Plaintiff,                     SUMMIT ENTERTAINMENT,
                                                   LLC’S MOTION TO ENFORCE
   15         v.                                   SETTLEMENT AND FOR
                                                   JUDGMENT THEREON
   16 PREFERRED FRAGRANCE, INC., a
      New York corporation, FRAGRANCE
   17 ACQUISITIONS, LLC, a Delaware
      limited liability company, EZRIEL
   18 POLATSEK, an individual, and DOES
      1-10, inclusive,
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                    Defendants.
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              On September 10, 2014, Plaintiff Summit Entertainment, LLC (“Summit”)
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        filed its Motion to Enforce the Settlement Agreement, To Enter Judgment Thereon,
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        and to Recovery Reasonable Attorneys’ Fees and Costs (“Motion”). On October 20,
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        2014, Summit’s Motion came on for hearing, the Honorable Christina A. Snyder
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        presiding. Having reviewed all of the briefing and supporting papers in support of
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        and in opposition to the Motion, the Court finds that Summit’s Motion is
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        GRANTED. Good cause having been shown, IT IS HEREBY ORDERED THAT:
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    1           1.         The Settlement Agreement dated June 2, 2014 is a fully binding and
    2                      enforceable against all parties thereto, and shall be enforced pursuant
    3                      to its terms;
    4           2.         Defendants Preferred Fragrance, Inc. and Ezriel Polatsek
    5                      (“Defendants”) breached the Settlement Agreement when they failed to
    6                      pay Summit the second installment within five days of Summit’s notice
    7                      of non-payment. Accordingly, Defendants owe Summit $45,000.00,
    8                      which is the balance of all remaining, unpaid installments;
    9           3.         Pursuant to Paragraph 7.a of the Settlement Agreement, the Court
   10                      enters judgment against Defendants in the amount of $45,000.00,
   11                      which is due within seven days of the date of this order.
   12           4.         Defendants are further ordered to pay Summit reasonable attorney’s
   13                      fees and costs of $9,680.00 within seven days of the date of this order.
   14           IT IS SO ORDERED.
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   16 Date: October 30, 2014                                  _____________________________
   17                                                            Hon. Christina A. Snyder
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